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                                                                                      FILED
                                                                          United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                             Tenth Circuit

                              FOR THE TENTH CIRCUIT                               July 28, 2020
                          _________________________________
                                                                              Christopher M. Wolpert
                                                                                  Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                            No. 20-1268
                                                     (D.C. No. 1:17-CR-00168-CMA-1)
  KAREN LYNN MCCLAFLIN,                                          (D. Colo.)

        Defendant - Appellant.
                       _________________________________

                                       ORDER
                          _________________________________

 Before TYMKOVICH, Chief Circuit Judge.
                  _________________________________

        This matter is before the court on the Motion to Withdraw and for Appointment of

 Substitute Counsel, which was filed by the appellant’s appointed counsel of record,

 Nathan Chambers. The required preliminary appellate documents for this post-conviction

 appeal have been filed. See 10th Cir. R. 46.3(A). Upon consideration, counsel’s motion is

 GRANTED, as provided in this order.

        Nathan Chambers is appointed pursuant to the Criminal Justice Act, 18 U.S.C.

 § 3006A, effective nunc pro tunc to the date the notice of appeal was filed in this matter.

 Mr. Chambers’ obligations to the appellant will end once he complies with this order, as

 will his CJA appointment.

        The district court previously made the requisite finding of eligibility for appointed

 counsel pursuant to 18 U.S.C. § 3006A. The interests of justice will be served by
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 appointing new counsel for the appellant with Mr. Chambers’ withdrawal. Therefore,

 attorney Wendy Palen is appointed as new counsel for the appellant.

        All pleadings filed to date in this appeal may be accessed on the court’s PACER

 docket. As a reminder, counsel appointed under the Criminal Justice Act (“CJA”) may

 obtain access to those materials without cost by registering for a CJA counsel account at

 http://pacer.psc.uscourts.gov.

        The court also directs as follows:

        1.     Within 14 days of the date of this order, the appellant’s former counsel, Mr.

 Chambers, shall transmit copies of all documents in his possession pertinent to this

 appeal that are not available on PACER to Ms. Palen (address: Palen Law Offices, LLP,

 P.O. Box 156, Glendo, WY 82213-0000; Telephone: 307-735-4022; Email:

 palenlaw@gmail.com).

        2.     Also within 14 days of the date of this order, Ms. Palen shall file and serve

 an entry of appearance in this court. See 10th Cir. R. 46.1.

        3.     This appeal is fully perfected. Nevertheless, if Ms. Palen wishes to

 supplement the designation of record and/or transcript order form on file in the district

 court, she is directed to do so within 20 days of the date of this order, providing service

 notice to this court as necessary. If Ms. Palen orders additional transcripts, she must file a

 CJA 24 form in the U.S. District Court for the District of Colorado. Questions regarding

 the filing of a CJA 24 form should be directed to the District Court Clerk’s Office.

        4.     The Clerk of the U.S. District Court for the District of Colorado shall wait

 at least 20 days before transmitting the record on appeal to this court. If amendments or

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 supplements to either the designation of record or transcript order form are filed, new

 counsel should ensure that the different and/or additional materials are included in the

 record on appeal when filed. Briefing on the merits will begin once the record on appeal

 is transmitted to this court.

        5.      The Clerk’s Office shall transmit a copy of this order to the Clerk of the

 U.S. District Court for the District of Colorado. Mr. Chambers shall transmit a copy of

 this order to the appellant forthwith.


                                                Entered for the Court
                                                CHRISTOPHER M. WOLPERT, Clerk

                                                by: Lara Smith
                                                    Counsel to the Clerk




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